     Case 1:12-cr-00435 Document 197 Filed on 12/22/22 in TXSD Page 1 of 1

                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA

v.                                           Case Number: 1:12−cr−00435

Tomas Yarrington Ruvalcaba




                               NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable
Rolando Olvera
PLACE:
Courtroom 4
United States District Court
600 E. Harrison Street
Brownsville, Texas 78520
DATE: 1/6/2023

TIME: 11:30 AM
TYPE OF PROCEEDING: Telephone Conference


Date: December 22, 2022
                                                         Nathan Ochsner, Clerk
